Case 1:24-bk-10646-MB   Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01   Desc
                         Main Document    Page 1 of 22



1    JELENA MCWILLIAMS
     1601 K STREET NW
2    WASHINGTON, D.C. 2006-1682
     jmcwilliams@cravath.com
3
     Tel. 1-202-869-7710
4

5

6

7

8

9
10                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11                         SAN FERNANDO VALLEY DIVISION
12   In re                                 Case No. 1:24-bk-10646-MB
13
     SYNAPSE FINANCIAL TECHNOLOGIES, Chapter 11
14   INC.,
                                     CHAPTER 11 TRUSTEE’S NINTH
15                                   STATUS REPORT
             Debtor.
16                                         DATE: September 13, 2024
                                           TIME: 10:00 a.m. PT
17                                         PLACE: 303
                                           21041 Burbank Boulevard
18
                                           Woodland Hills, CA 91367 and
19                                         Via ZoomGov

20

21

22

23

24

25

26

27

28
Case 1:24-bk-10646-MB          Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                  Desc
                                Main Document    Page 2 of 22



1            TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE,

2    THE OFFICE OF THE UNITED STATES TRUSTEE AND INTERESTED PARTIES:

3            I, Jelena McWilliams (the “Trustee”), the duly appointed, qualified and acting chapter 11

4    trustee for the estate of Debtor Synapse Financial Technologies, Inc. (“Synapse” or the “Debtor”),

5    hereby submit my ninth “Chapter 11 Trustee’s Status Report” (the “Report”) and represent as follows:

6                                                       I.

7                                          TIMELINE OF EVENTS

8            A.      Filing of the Chapter 11 Case and Appointment of Chapter 11 Trustee

9            On April 22, 2024, the Debtor filed a voluntary chapter 11 petition, schedules and statement
10   of financial affairs.
11           On May 24, 2024, following a hearing, the Court entered an order appointing a chapter 11
12   trustee (the “Appointment Order”), and Jelena McWilliams was appointed by the U.S. Trustee as the
13   Chapter 11 Trustee in this Chapter 11 Case (the “Case”). [Dkt. No. 196].
14           On June 6, 2024, the Trustee filed the “Chapter 11 Trustee’s Initial Status Report” (the “Initial
15   Report”), and, on June 7, 2024, the Trustee presented the Initial Report at a Status Conference before
16   the Court. On June 13, 2024, the Trustee filed the “Chapter 11 Trustee’s Second Status Report” (the
17   “Second Report”), and, on June 14, 2024, the Trustee presented the Second Report at a Status
18   Conference before the Court. On June 20, 2024, the Trustee filed the “Chapter 11 Trustee’s Third
19   Status Report” (the “Third Report”), and, on June 21, 2024, the Trustee presented the Third Report at
20   a Status Conference before the Court. On July 2, 2024, the Trustee filed the “Chapter 11 Trustee’s
21   Fourth Status Report” (the “Fourth Report”), and, on July 3, 2024, the Trustee presented the Fourth
22   Report at a Status Conference before the Court. On July 16, 2024, the Trustee filed the “Chapter 11
23   Trustee’s Fifth Status Report” (the “Fifth Report”), and, on July 17, 2024, the Trustee presented the
24   Fifth Report at a Status Conference before the Court. On July 31, 2024, the Trustee filed the “Chapter
25   11 Trustee’s Sixth Status Report” (the “Sixth Report”), and, on August 1, 2024, the Trustee presented
26   the Sixth Report at a Status Conference before the Court. On August 13, 2024, the Trustee filed the
27   “Chapter 11 Trustee’s Seventh Status Report” (the “Seventh Report”), and, on August 14, 2024, the
28   Trustee presented the Seventh Report at a Status Conference before the Court. On August 29, 2024,


                                                        1
Case 1:24-bk-10646-MB          Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                  Desc
                                Main Document    Page 3 of 22



1    the Trustee filed the “Chapter 11 Trustee’s Eighth Status Report” (the “Eighth Report”), and, on

2    August 30, 2024, the Trustee presented the Eighth Report at a Status Conference before the Court.

3    Additional information about the timeline of events in this Case and the Debtor’s historical business

4    operations can be found in these previous reports.

5           B.      Update on Ledger Reconciliation and Release of End User Funds

6           The schedules below summarize the partial distributions made by Partner Banks to Synapse-

7    related end users since May 24, 2024. Since the Eighth Report, dated August 29, 2024, AMG and

8    Lineage have made new distributions and have distributed the great majority of the funds they hold

9    for end users. In addition, Evolve reports that it is progressing its reconciliation efforts and continues
10   to expect to make distributions based on such reconciliation within 8 weeks from August 23rd, i.e.,
11   approximately October 18th.
12           At the time of this Report, Partner Banks are continuing reconciliation efforts and information
13   outreach with the objective of making additional distributions of reconciled funds to end users as soon
14   as possible. Experience to date suggests that a relatively small percentage of end user funds at Partner
15   Bank may be subject to additional delays in distribution due to matters unrelated to reconciliation
16   efforts, such as delays in obtaining current payment instructions for end users and returned payments.
17          Additionally, Evolve and Lineage have voluntarily provided their own reports with additional

18   details of their reconciliation efforts and distributions to date, which are attached to this Report as

19   Exhibit A and Exhibit B, respectively. The inclusion of these reports as appendices is not an

20   endorsement by the Trustee of positions taken by any particular Partner Bank and is solely for

21   informational purposes.

22                  1.      DDA Reconciliation and Distributions

23          Since the Eighth Report, Evolve has distributed an additional $123,857 in DDA funds; no

24   additional DDA funds have been distributed, as detailed below. Overall, of the $6,401,769 aggregate

25   DDA Funds held by Evolve and Lineage on the date of the Trustee’s appointment, $5,691,458, or

26   approximately 89%, have been distributed to date, with $710,311, or approximately 11%, remaining

27   to be distributed.

28


                                                          2
Case 1:24-bk-10646-MB           Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01               Desc
                                 Main Document    Page 4 of 22



1                                          DDA Funds Summary 1
2                           American     AMG National Evolve Bank
                                                                  Lineage Bank               Total Funds
                             Bank           Trust      and Trust
3     Funds Held on
                               N/A             N/A          $6,013,000        $388,769        $6,401,769
      May 24, 2024
4         Funds
     Distributed as of         N/A             N/A          $5,369,000        $198,601        $5,567,601
5
      May 24, 2024
6         Funds
     Distributed as of
7                              N/A             N/A          $5,492,857        $198,601        $5,691,458
      September 12,
           2024
8       Remaining
9        Funds on
                               N/A             N/A           $520,143         $190,168        $710,311
      September 12,
10         2024

11
              Partner Banks have reported that the status and issues related to distributions of DDA funds
12
     remains the same from the Eighth Report, as detailed below.
13
                                     DDA Funds Distributions Progress
14                                                        Total Funds
                                  Funds Held on May                                 Percentage of Funds
15                                                     Distributed as of
                                       24, 2024                                         Distributed
                                                      September 12, 2024
16   American Bank                       N/A                  N/A                           N/A
     AMG National Trust                  N/A                  N/A                           N/A
17   Evolve Bank and Trust            $6,013,000           $5,492,857                       91%
18   Lineage Bank                      $388,769             $198,601                        51%
     Total DDA Funds                  $6,401,769           $5,691,458                       89%
19

20                •   Evolve reports that is continues to work to distribute additional DDA funds, but
21                    progress has been slow because 5 Fintech Partners have not responded to outreach for

22                    balance verification and payment instructions: Donut (believed to be out of business),

23                    Namebase, Trim, Unest and SeedFi. Evolve reports that it is in communication with

24                    Fintech Partners Grabr and Homebase to investigate if any DDA funds ssociated with

25                    these platforms ate held at Evolve. Evolve is also awaiting payment instructions to

26                    reprocess approximately $800 in returned payments.

27

28
     1
         Partner Banks have reported to the Trustee certain numbers in approximations.
                                                        3
Case 1:24-bk-10646-MB                  Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01       Desc
                                        Main Document    Page 5 of 22



1                 •     Lineage has not distributed additional DDA funds but reports that it is working to
2                       distribute approximately $30,000 in additional funds to end users of one Fintech

3                       Partner. Additionally, Lineage holds approximately $160,000 DDA funds as part of a

4                       DDA loan program and has determined to validate these funds against the Synapse

5                       ledger before making distributions.

6                 •     Neither American Bank nor AMG holds any DDA funds for Synapse end users.
7              The Trustee is not aware of any reported shortfall between cash held in DDAs at the Partner

8    Banks and the amounts owed to DDA end users as shown on the Synapse trial balances. The Trustee

9    believes that Partner Banks should be able to successfully repay the remaining DDA funds in the near

10   future.
11                      2.          FBO Account Reconciliation and Distributions
12             Since the Eighth Report, an additional $177,596 in FBO funds has been distributed by AMG
13   and an additional $6,382,503 in FBO funds has been distributed by Lineage. No other FBO funds have
14   been distributed by other Partner Banks, as detailed below. Overall, of the $219,049,826 aggregate
15   FBO Funds held by AMG, American Bank, Evolve and Lineage on the date of the Trustee’s
16   appointment, $165,031,397, or approximately 75%, have been distributed to date, with $54,018,429,
17   or approximately 25%, remaining to be distributed.
18                                                FBO Funds Summary 2
19                      American          AMG National     Evolve Bank    Lineage
                                                                                         Total Funds
                         Bank               Trust           and Trust      Bank
20       Funds Held
21            on
                             $43,339       $110,290,040     $46,926,558 $61,789,889      $219,049,826
           May 24,
22           2024
            Funds
23       Distributed
             as of             $0           $55,000,000         $0           $0          $55,000,000
24
           May 24,
25           2024
            Funds
26       Distributed
                               $0          $100,769,819         $0           $0          $100,769,819
             as of
27       July 2, 2024
28
     2
         Partner Banks have reported to the Trustee certain numbers in approximations.
                                                            4
Case 1:24-bk-10646-MB            Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01         Desc
                                  Main Document    Page 6 of 22



1        Funds
      Distributed
2         as of          $0          $104,025,366        $0            $0           $104,025,366
        July 16,
3
          2024
4        Funds
      Distributed
5         as of          $0          $105,026,528        $0            $0           $105,026,528
        July 31,
6         2024
7        Funds
      Distributed
8         as of          $0          $106,070,956        $0            $0           $106,070,956
      August 14,
9         2024
         Funds
10
      Distributed
11        as of          $0          $109,270,681        $0       $49,200,617       $158,471,298
      August 29,
12        2024
         Funds
13    Distributed
14        as of          $0         $109,448,277         $0       $55,583,120       $165,031,397
      September
15     12, 2024
      Remaining
16     Funds on
                       $43,339        $841,764      $46,926,558 $6,206,769           $54,018,429
      September
17     12, 2024
18
            Partner Banks have reported the status and issues related to distributions of FBO funds as
19
     detailed below.
20
                                     DDA Funds Distributions Progress
21                                                        Total Funds
                                  Funds Held on May                             Percentage of Funds
                                                       Distributed as of
22                                     24, 2024                                     Distributed
                                                      September 12, 2024
     American Bank                      $43,339                 $0                      0%
23
     AMG National Trust              $110,290,040        $109,448,277                   99%
24   Evolve Bank and Trust            $46,926,558               $0                      0%
     Lineage Bank                     $61,789,889          $55,583,120                  90%
25   Total Funds                     $219,049,826         $165,031,397                  75%
26

27              •   As of September 12, 2024, American Bank holds approximately $42,339.67 of

28                  potential commercial end user funds. American Bank has informed the Trustee that it



                                                     5
Case 1:24-bk-10646-MB      Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                 Desc
                            Main Document    Page 7 of 22



1               is investigating the status of these funds and hopes to work with Partner Banks to verify

2               the funds in the near future.

3           •   As of September 12, 2024, AMG has paid out $109,448,277 (99% of total FBO funds
4               held by AMG) for the benefit of over 90,000 end users, either paid directly to end users

5               or to custodial banks for user check payments or operating Fintech Partners’ credit to

6               end users. Of the total payments, AMG has paid out 100% of balances (~$89.1 million)

7               for 12 Fintech Partners and their over 85,000 users and has made partial payments

8               (~$20.3 million) for an additional 10 Fintech Partners and their over 5,000 users. AMG

9               has $841,764 in FBO funds left to distribute on behalf of 10 Fintech Partners and their
10              over 10,000 end users (includes Fintech Partners where only partial payments were
11              made and where issues with distributions exist). AMG also is working on reprocessing
12              return payments of approximately $48,000. AMG will continue to work with fintech
13              platforms to process as many distributions as payment information permits. However,
14              AMG and several fintech platforms are having difficulty obtaining additional current
15              payment information from end users. On September 9, AMG sent follow-up emails to
16              over 1,800 Yotta end users with a total of $494,000 in balances who had not responded
17              to earlier email requests. Approximately 80 end users responded within the two days
18              since sending. End users may elect to respond to AMG’s information request via secure
19              email, phone or U.S. mail. AMG’s contact information was provided in the emails sent
20              to the end users. End users are encouraged to make sure their fintech platform provider
21              has current payment information regardless of the size of the balance. Yotta and
22              MainVest end users who have received emails or phone calls from AMG are
23              encouraged to contact AMG promptly. Because of the lack of additional current
24              payment information, AMG expects that after September, payment activity will slow
25              even more. AMG is awaiting payment instructions for approximately $423,000 from
26              9 other fintech platforms with 8,465 end users. The average value of remaining
27              balances (other than for Yotta end users) is less than $50. AMG holds funds of $1.00
28              or less without current payment information for approximately 5,200 (50%) remaining


                                                    6
Case 1:24-bk-10646-MB          Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                  Desc
                                Main Document    Page 8 of 22



1                    end users. AMG also holds approximately $72,000 for unidentified Synapse Brokerage

2                    FBO customers and $150,845.19 in unallocated interest associated with Synapse

3                    Brokerage sweep network deposits, which was transferred into AMG FBO Accounts

4                    on June 7, 2024.

5                •   As of September 12, Lineage has paid out $$55,583,120 for the benefit of 4,438 end
6                    users. For the remaining funds, Lineage is working diligently to complete reconciliation

7                    and obtain payment instructions to make distributions.

8                •   Evolve reports that it is continuing its reconciliation efforts before it will be able to
9                    make distributions of FBO funds. Evolve estimates they will be able to begin making
10                   distributions of FBO funds 8 weeks after August 23, 2024 (the date its data collection
11                   efforts were complete), i.e., approximately October 18th. Since the last report, the
12                   Trustee and her Advisors are continuing to work diligently with Evolve and its
13                   consultants, including Ankura, to provide data and other support in order to accelerate
14                   Evolve’s data collection and reconciliation.
15               •   The aggregate $65 million to $95 million estimated shortfall has not changed since the
16                   Eighth Status Report.
17          C.       Further Reconciliation Efforts

18                   1.     Analysis of Synapse Data Provided to Partner Banks

19          The Trustee and her advisors have collected and made available to the Partner Banks all

20   Synapse’s ledger records, data and systems on a confidential and read-only basis to facilitate

21   reconciliation to the Partner Banks. The Trustee and her advisors are working continuously and closely

22   with the Partner Banks to facilitate additional data sharing and navigating Synapse systems.

23                   2.     Communications among Partner Banks and with End Users and Fintech

24                          Platforms

25          The Trustee is continuing to facilitate communication among the Partner Banks and Fintech

26   Partners and other parties in interest to reconcile individual end user accounts, obtain payment

27   instructions, establish workarounds and resolve other reconciliation and distribution questions.

28


                                                         7
Case 1:24-bk-10646-MB           Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                 Desc
                                 Main Document    Page 9 of 22



1           As discussed in previous status reports, the Trustee is aware that Partner Banks have had

2    ongoing difficulties obtaining information from certain Fintech Partners, which has delayed

3    distributions to certain end users in some instances. The Trustee again urges the few Fintech Partners

4    that have been unresponsive to outreach from the Partner Banks or that have not provided information

5    to verify end user balances and direct payments to cooperate fully and quickly with the Partner Banks

6    to enable the release of their end users’ funds. The Trustee has also been informed that some end users

7    do not have up-to-date payment information on file with their respective Fintech Partners, which has

8    delayed distributions to these end users. The Trustee again urges all end users to check their

9    information in their Fintech’s app or website and provide current bank routing and account numbers
10   to receive payments, or in the alternative, current mailing addresses to receive paper checks.
11          D.      Estate Expenses

12          The Trustee and her advisors are continuing to identify and implement administrative operating

13   cost reductions while preserving data key to reconciliation efforts and value for the estate in light of a

14   potential asset sale. Since the last status conference, the Trustee and her advisors have put substantial

15   efforts towards developing a plan to descale and eventually terminate cloud expenses associated

16   important for the reconciliation process.

17          E.      Meetings with Parties in Interest

18          Since August 29, 2024, the Trustee and her advisors have had follow-up meetings and

19   communications with known parties in interest as well as initial meetings and communications with

20   additional constituents.

21                  1.      Bank Partners

22          The Trustee and her advisors continue to have open lines of communication with the Partner

23   Banks and their respective counsel, individually and collectively. The purpose of these

24   communications has been to communicate on progress and issues that have arisen in the reconciliation

25   process and issues arising in connection with the reconciliation process.

26                  2.      Debtor’s Former Officers, Key Employees and Contractors

27          The Trustee and her advisors held multiple meetings with former Synapse officers regarding

28   historical operations of Synapse and its relationship with Partner Banks, technical matters relating to


                                                         8
Case 1:24-bk-10646-MB           Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01               Desc
                                Main Document     Page 10 of 22



1    the operations of the Synapse system and the impact of different systems on the reconciliation process

2    and identification of costs and services that can be scaled back without impacting the reconciliation

3    process.

4                   3.       End Users

5           The Trustee continued to have meetings and communications with affected end users, the

6    purpose of which has been to connect end users with Partner Banks and to respond to inquiries about

7    reconciliation progress. The Trustee is acutely aware the real-life impacts to end users and urgency of

8    many end user’s circumstances as they wait for reconciliation to complete and access to their funds.

9    The Trustee continues to urge all stakeholders to work efficiently and respond promptly to end user
10   inquiries. To illustrate the urgency of the situation, the Trustee has attached a copy of one such
11   communication as Exhibit C to this Report.
12                  4.       Vendors and Suppliers

13          The Trustee continues to receive and catalogue in-bound communications from creditors with

14   unpaid invoices. The Trustee’s advisors are continuing to communicate with certain key vendors to

15   ensure records preservation and plan efficient data transition. The Trustee appreciates their

16   cooperation to date and their continued cooperation until all the Debtor’s records and information can

17   be properly retained.

18                  5.       Asset Sale Inquiries

19          The Trustee and her advisors continue to receive inbound inquiries regarding the potential

20   acquisition of Synapse assets and have had preliminary meetings with several parties to gauge interest

21   and feasibility and to inform a proposed asset sale plan.

22          F.      Conversion

23                  The Trustee believes this Case should remain in chapter 11 for the time being and, as

24   of the time of this Report, is not seeking conversion to chapter 7.

25                                                     II.

26                              CONCLUSION AND RECOMMENDATION

27          The Trustee continues to facilitate the Partner Banks’ additional efforts with regard to

28   reconciliation, settlement payments among banks and identifying the sources of any shortfalls. The


                                                        9
Case 1:24-bk-10646-MB           Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                  Desc
                                Main Document     Page 11 of 22



1    Trustee and her advisors are working with Partner Banks and key vendors to collect and preserve

2    Synapse records across platforms used by Synapse. These efforts will facilitate further reconciliation.

3    B. Riley is continuing to develop a strategy and materials to facilitate a potential asset sale.

4           The Trustee will present the foregoing at the Status Conference scheduled for September 13,

5    2024, at 10:00 a.m. Pacific Time.

6

7

8

9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                         10
Case 1:24-bk-10646-MB    Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01    Desc
                         Main Document     Page 12 of 22



1

2
     DATED: September 12, 2024                  JELENA MCWILLIAMS
3                                               CHAPTER 11 TRUSTEE
4

5                                                    /S/ Jelena McWilliams
                                                By: ___________________________________
6                                                   Jelena McWilliams
                                                    Chapter 11 Trustee
7

8
                                          ###
9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                           11
Case 1:24-bk-10646-MB   Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01   Desc
                        Main Document     Page 13 of 22




                        Exhibit A
Case 1:24-bk-10646-MB              Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                  Desc
                                   Main Document     Page 14 of 22


          Evolve Bank & Trust: Update on Ledger Reconciliation and Release of End User Funds

Evolve Bank & Trust (“Evolve” or “Bank”) is providing this update to the Trustee and parties in interest
documenting the Bank’s progress in performing a reconciliation that, once completed, will enable
Evolve to distribute end user funds in its possession, in compliance with applicable law.

I.          Background

As explained in prior updates to the Trustee and the Court, Evolve is holding approximately $46
million in funds belonging to end users of Synapse Brokerage LLC (“Synapse Brokerage”), a
subsidiary of the bankrupt entity Synapse Financial Technologies, Inc. (“Synapse”). These end user
funds are held by Evolve in connection with the Bank’s payment processing activities for Synapse
Brokerage end users following their fintech platforms’ migration from Evolve to Synapse Brokerage in
Fall 2023. The Bank additionally holds approximately $35.3 million in reserve funds that it will
distribute to end users if the reconciliation determines that such distribution is appropriate.

As detailed in prior updates, Synapse had a contractual obligation to maintain, and to provide to
Evolve, a complete and accurate ledger. However, the Bank has identified significant irregularities in
Synapse’s ledgers that indicate the account balances set forth therein are materially inaccurate, and
cannot be used as the basis for distributing funds to end users. Therefore, Evolve determined that a
reconciliation was necessary to determine (1) which Synapse Brokerage end users have funds at
Evolve, and (2) for those Synapse Brokerage end users with funds at Evolve, how much is owed to
each end user.

The Bank has engaged Ankura Consulting Group, LLC (“Ankura”), a third-party firm with strong
expertise in complex accounting and reconciliation matters, to lead the reconciliation on the Bank’s
behalf. Ankura’s work has been underway for weeks, and a status report containing an update on
recent progress is below.

II.         Reconciliation Status Report

Ankura continues to make progress toward completing a Reconciliation Plan that will take account
of Synapse Brokerage end-user transactions in and out of Evolve and allow the Bank to determine
(1) which Synapse Brokerage end users have funds at Evolve, and (2) the amount of their funds at
Evolve.

Per the Bank’s prior updates, the essential components of this Reconciliation Plan are:

      •     Collection of Synapse’s account and transaction data;

      •     Analysis of this data, along with Evolve’s own data, to track the flow of funds into and out of
            Synapse Brokerage end users’ accounts; and

      •     Calculation of the end-users’ actual balances at Evolve.



                                                                                                         1
Case 1:24-bk-10646-MB         Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                 Desc
                              Main Document     Page 15 of 22




Ankura has completed the transfer, restoration, and validation of the databases necessary to perform
the reconciliation. As noted in prior updates, this process involved working with the Trustee and the
Trustee’s service provider to extract, copy, transfer to Ankura, and restore more than 100 databases
maintained by Synapse, comprising nearly 10 terabytes of data. Ankura has separately obtained
access to millions of Evolve’s transactional records.

With record collection and database restoration completed, Ankura is currently diligently analyzing
the contents of the Synapse databases and Evolve’s records to reconcile account-by-account,
transaction-by-transaction activity with reported account balances over time. Consistent with prior
updates, the anticipated timeline for completing the reconciliation, starting from the collection of
the necessary data (substantially complete as of August 23, 2024), is approximately eight weeks,
subject to possible contingencies. This means that we expect the reconciliation to be completed by
October 18, 2024.

Updates will continue to be provided on Evolve’s website at https://www.getevolved.com/synapse-
bankruptcy-update/.




                                                                                                   2
Case 1:24-bk-10646-MB   Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01   Desc
                        Main Document     Page 16 of 22




                        Exhibit B
Case 1:24-bk-10646-MB         Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01             Desc
                              Main Document     Page 17 of 22


                                            Lineage Bank
                                            Status Update
                                          September 12, 2024

       The Synapse-linked FBO funds held at Lineage Bank (“Lineage”) are the subject of

Lineage’s ongoing reconciliation efforts. Many end users who were associated with the Synapse

Financial Technologies (“Synapse”) platform are still unable to access their funds due to the

sudden financial collapse of Synapse, and Lineage acknowledges the frustration and hardship

this situation has created for many. Lineage remains committed to resolving these issues as

swiftly and accurately as possible and submits this Status Report to update all parties on its

Synapse-related reconciliation efforts.

                                             Background

       Lineage terminated its contract with Synapse in March of 2024, and was winding down

its relationship when Synapse filed bankruptcy. Lineage operated primarily as a third-party

payment processor for Synapse. Consequently, Lineage did not have direct relationships or

account agreements with the end-users of Synapse’s fintech platform customers. Simply put,

Lineage originated ACH and wire transfers based on money movement instructions it received

from Synapse. Lineage has reconciled the cash that it processed at the direction of Synapse

against the Federal Reserve’s records. Lineage’s cash balance of FBO funds reconciles with the

Federal Reserve’s records. However, the final trial balance that Synapse generated during its

final hours attributes a different purported FBO account balance to Lineage than the actual cash

balance at Lineage that has been verified against the Federal Reserve’s records and contains

other deficiencies and contradictions.

       Due to the issues with Synapse’s final trial balance, Lineage has been forced to undertake

to reconcile end user accounts and calculate end user balances based on the information that has

been made available to it by the Trustee through the bankruptcy process. Lineage engaged, at its
Case 1:24-bk-10646-MB         Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                 Desc
                              Main Document     Page 18 of 22



own expense, a former Synapse engineer familiar with Synapse’s systems to access the Synapse

accounting databases to assist with recovering, preserving and analyzing the Synapse data. Since

Lineage first obtained access to Synapse’s critical accounting databases, it has worked with great

effort to collect and preserve Synapse’s available data for the benefit of all affected parties.

Unfortunately, this process has been complicated and time-consuming given the significant

attention to detail required in these unprecedented circumstances.

                          Update on Lineage’s Reconciliation Efforts

       Despite multiple and substantial complications, some of which have been outlined in

previous filings, Lineage continues to make material progress in its reconciliation efforts. Given

the magnitude and complexity of the tedious task of analyzing the millions of transactions

required for the reconciliation project, there remains substantial work to be done.

       Since the last status conference on August 30, 2024, Lineage has distributed

approximately $6,382,503 of Synapse-linked FBO funds to their rightful owners. Lineage’s

recent distributions bring the total distributions of FBO funds by Lineage to Synapse-linked end

users to approximately $55,583,120, representing roughly 90% of the Synapse-linked FBO funds

that were held at the bank when the Trustee was appointed.            Lineage anticipates making

additional distributions of FBO funds in the future as its ongoing reconciliation efforts progress.

Lineage will continue to cooperate with the Trustee, the fintech platforms and the other Partner

Banks to restore the FBO funds held at Lineage to their rightful owners as soon as possible.
Case 1:24-bk-10646-MB   Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01   Desc
                        Main Document     Page 19 of 22




                        Exhibit C
Case 1:24-bk-10646-MB          Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                     Desc
                               Main Document     Page 20 of 22




                                                                                  Report This Email FAQ

Good evening Ms McWilliams,

Please find my statement below:

My name is Nathan Grant, and my Yotta account, consisting of $7437.00, became unavailable to me
starting in May of 2024. At first I was patient, hoping that the issues with my account would be resolved,
however, by June 21, when I was still unable to access my funds, I had sent an email to the NH Banking
Commission describing the issue. They responded to me on June 26 2024 and provided me with the
bank that they said were responsible for my account which was Evolve Bank and Trust, and suggested
that I contact the FDIC with my account issue, at which time I did call the FDIC and spoke to Leon and he
advised me to file a complaint form, which I did. On June 27, 2024 I called Evolve Bank and Trust and
was transferred to a supervisor/manager who told me that they no longer had the accounts and she had
given me the email address to contact Synapse, where she stated my funds were. On July 1 2024, I
emailed Evolve Bank and Trust and received a response stating similarly to my phone call,
that as of late 2023 that my account transitioned from Evolve Bank and Trust to Synapse. On July 2, 2024
I emailed
Synapse at the email address I had been given but received no response. Then on July 9, 2024, after still
being denied access to my funds, I sent another email to Evolve Bank and Trust siting the hearing
information, and asking for help accessing my account with no response. My last attempt at contacting
Evolve Bank and Trust was on September 2, 2024 when I submitted another online email form
requesting assistance with my account, with no response.

I have tried many times to get help to gain access to my account but have been unsuccessful. My
concern is that I am in the NH Air National Guard and am due to be deployed, out of the country, next
month and still without access to my account. These funds were all I had since I am also a full time
college student, and have been saving for this
Deployment.

I have been following the updates on the Yotta accounts and see that money has been distributed back
to many account holders, however, I am not one of those people that have been lucky enough to get my
money back, and with my deployment growing nearer I am grower increasingly concerned.

Thank you for your time
V/R
Nathan Grant

Sent from my iPhone




                                                    1
       Case 1:24-bk-10646-MB                      Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                                      Desc
                                                  Main Document     Page 21 of 22



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): __________________________________________
CHAPTER 11 TRUSTEE’S NINTH STATUS REPORT                                     _                                        _
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/12/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Raymond O Aghaian raghaian@kilpatricktownsend.com, ndelman@kilpatricktownsend.com;moroberts@ktslaw.com
Ron Bender rb@lnbyg.com
David A Berkley david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
J Scott Bovitz bovitz@bovitz-spitzer.com
Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
Sara Chenetz schenetz@perkinscoie.com,
docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chenetz-sara-perkins-coie-
8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com
Russell Clementson russell.clementson@usdoj.gov
Andrew Michael Cummings andrew.cummings@hklaw.com,
philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
Michael G. Farag mfarag@gibsondunn.com
Paul R. Glassman pglassman@stradlinglaw.com
Nicholas Christian Glenos cglenos@bradley.com
Michael H Goldstein mgoldstein@goodwinprocter.com, ASchaefer@goodwinlaw.com
Michael I. Gottfried mgottfried@elkinskalt.com,
cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
Steven T Gubner sgubner@bg.law, ecf@bg.law
Ralph P Guenther rguenther@guentherlawgroup.com
Robert T. Honeywell robert.honeywell@klgates.com
Lance N Jurich ljurich@loeb.com,
pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.com
Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
William J Levant wlevant@kaplaw.com, wlevant@gmail.com
Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
Jelena McWilliams (TR) jmcwilliams@cravath.com, mao@cravath.com
Krikor J Meshefejian kjm@lnbyg.com
Fred Neufeld fneufeld@stradlinglaw.com, tingman@sycr.com
Valerie Bantner Peo vbantnerpeo@buchalter.com
David M Poitras dpoitras@bg.law
Holly Roark     holly@roarklawoffices.com, courtnotices@roarklawoffices.com
Paul M Rosenblatt prosenblatt@kilpatricktownsend.com, moroberts@ktslaw.com
Brandy A Sargent brandy.sargent@klgates.com, litigation.docketing@klgates.com;janna.leasy@klgates.com
Callan C Searcy bk-csearcy@texasattorneygeneral.gov
Zev Shechtman Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com
Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case 1:24-bk-10646-MB                    Doc 370 Filed 09/12/24 Entered 09/12/24 18:22:01                                      Desc
                                                  Main Document     Page 22 of 22


Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com
Claire K Wu claire.wu@pillsburylaw.com, irene.hooper@pillsburylaw.com;docket@pillsburylaw.com
Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/12/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

None.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 9/12/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  9/12/2024                         Robert N. Greenfield                                         /s/ Robert N. Greenfield
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
